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    8
                              UNITED STATES DISTRICT COURT
    9                        CENTRAL DISTRICT OF CALIFORNIA
   10                              WESTERN DIVISION

   11 AMERICANS FOR PROSPERITY                    Case No. 2:14-cv-09448-CAS-FFM
      FOUNDATION,
   12                                             STIPULATION TO CONTINUE HEARING
                Plaintiff,                        ON MOTION TO MODIFY JUDGMENT
   13                                             SET FOR OCTOBER 25, 2021
   14     v.
                                                  Hearing Date: October 25, 2021
   15 ROB BONTA,                                  Judge:        Hon. Christina A. Snyder
      in his Official Capacity as                 Courtroom: 8D
   16 Attorney General of California,
   17
                    Defendant.
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    1         Plaintiff Americans for Prosperity Foundation (the “Foundation”) and
    2 Defendant Attorney General Rob Bonta (the “Defendant,” and, together with the
    3 Foundation, the “Parties”), by and through their respective counsel hereby stipulate
    4 and agree as follows:
    5         WHEREAS, the Foundation filed its Motion to Modify Judgment (the
    6 “Motion”) on September 23, 2021, ECF 210;
    7         WHEREAS, the Defendant informed the Foundation prior to the filing of the
    8 Motion that it agreed that the mandate of the Court of Appeals contemplated further
    9 proceedings but that it had not yet formulated a position as to how the judgment
   10 should be modified;
   11         WHEREAS, the Foundation noticed the hearing on the Motion for October 25,
   12 2021;
   13         WHEREAS, the Court on September 24, 2021, “set[] a Status Conference re:
   14 Filing and Spreading the Mandate and Case” to take place on October 18, 2021, at
   15 11:00 a.m. (the “Status Conference”);
   16         WHEREAS, the Defendant informed the Foundation on October 1, 2021, that
   17 the Defendant did not oppose the Motion but would like to confer regarding the
   18 specific wording of the modified judgment;
   19         WHEREAS, the Defendant did not and does not intend to file an opposition to
   20 the Motion;
   21         WHEREAS, the Parties agree that it would be more efficient to continue the
   22 hearing on the Motion pending the outcome of negotiations between the Parties as to
   23 the specific wording of the modified judgment;
   24         WHEREAS, the Parties will be prepared to discuss, among other things,
   25 modification of the judgment at the Status Conference;
   26         THEREFORE, pursuant to Local Rule 7.1, the Parties hereby stipulate and
   27 agree to continue the hearing on the Motion until such time as the Parties complete
   28 their negotiations as to the specific wording of the modified judgment.

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    1 DATED: October 11, 2021            Respectfully submitted,
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                                         QUINN EMANUEL URQUHART &
    3                                    SULLIVAN, LLP
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                                         By         /s/ Derek L. Shaffer
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                                              DEREK L. SHAFFER
    7                                         Attorney for Plaintiff Americans for
    8                                         Prosperity Foundation

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   10
                                         ROB BONTA
   11                                    Attorney General of California
                                         HEATHER HOESTEREY
   12
                                         Supervising Deputy Attorney General
   13
   14
   15                                    By         /s/ Jose A. Zelidon-Zepeda
                                              JOSE A. ZELIDON-ZEPEDA
   16
                                              Attorneys for Defendant Attorney General
   17                                         Rob Bonta, in His Official Capacity
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